                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


ANNE STEGER,                                                   Case No. 20-cv-0449-bhl

                Plaintiff,

       v.


METALCRAFT OF MAYVILLE INC.,

                Defendant.


             DEFENDANT’S RESPONSE TO PLAINTIFF’S OBJECTION TO BILL OF
                                   COSTS


                                        INTRODUCTION

       Defendant, Metalcraft of Mayville Inc. (“Metalcraft”), is entitled to the taxation of costs as

a result of being the prevailing party in this suit. After the Court granted summary judgment in

the four test cases in these related cases, Plaintiff Anne Steger dismissed this case with prejudice

because there was no additional information that could overcome the reasons the test cases failed

as a matter of law. Plaintiff opposes costs, but the final order entered in this case did not foreclose

Metalcraft’s ability to seek costs. Moreover, the costs for obtaining deposition transcripts were

reasonable because each deposition was noticed by Plaintiff’s counsel and were needed for

Metalcraft to defend itself. As set forth below, the requested costs should be taxed.

                                           ARGUMENT

I.     THE COURT’S ORDER IN THIS CASE                                DID     NOT      FORECLOSE
       METALCRAFT’S ABILITY TO SEEK COSTS.

       Federal Rule of Civil Procedure 54(d) provides that “[u]nless a federal statute, these rules,

or a court order provides otherwise, costs—other than attorney's fees—should be allowed to the



            Case 2:20-cv-00449-BHL Filed 05/19/22 Page 1 of 6 Document 53
prevailing party.” Fed. R. Civ. P. 54(d). There is no dispute that Metalcraft was the prevailing

party in this case. See Mother & Father v. Cassidy, 338 F.3d 704, 710 (7th Cir. 2003) (“Where

the dismissal is with prejudice . . . nothing in the language of Rule 41 suggests that the prevailing

defendant should not enjoy the normal benefits of a final judgment in its favor.”). The Seventh

Circuit has “consistently interpreted Rule 54(d) as providing a strong presumption that the

prevailing party will recover costs, with the ultimate decision resting within the district court's

discretion.”

       Plaintiff moved to dismiss the case pursuant to Fed. R. Civ. P. 41(a)(2). Metalcraft opposed

the dismissal to the extent it would be without costs and fees by filing a motion for sanctions under

Fed. R. Civ. P. 11. The Court ultimately denied Metalcraft’s motion for sanctions and granted

Plaintiff’s motion for voluntary dismissal. Contrary to Plaintiff’s argument, the Court’s statement

that “[h]aving determined that an award of sanctions is not warranted, the Court will

dismiss the cases with prejudice, with each party to bear its own fees and costs” [ECF 51] cannot

be interpreted to preclude the award of costs as to the case as a whole. "The presumption in favor

of awarding costs to the prevailing party is difficult to overcome, and the district court's discretion

is narrowly confined—the court must award costs unless it states good reasons for denying them."

Weeks v. Samsung Heavy Indus. Co., 126 F.3d 926, 945 (7th Cir. 1997). The Court did not provide

any analysis or reasoning why costs should not be allowed in this case. By linking the statement

regarding bearing fees costs to the denial of the motion for sanctions, the order can be reasonably

interpreted to cover the fees and costs associated with litigating Metalcraft’s motion for sanction.

This interpretation is supported by the Court’s own interpretation of Plaintiff’s Rule 41 motion:

“Plaintiffs have moved to dismiss 12 of the lawsuits (the other four were decided on summary

judgment), with prejudice, and without further costs or fees to either party.” [ECF 51] (emphasis



                                                  2

          Case 2:20-cv-00449-BHL Filed 05/19/22 Page 2 of 6 Document 53
added). Metalcraft is not precluded from receiving costs incurred up to the point of Plaintiff

moving to dismiss and Metalcraft moving for sanctions.

       Finally, Metalcraft in no way waived its right to seek costs. As acknowledged by the Court:

“Defendant did not object to dismissal of each case, with prejudice . . . The only dispute was over

who should bear fees and costs.” [ECF 51]. Moving for sanctions under Rule 11 was clearly an

objection to dismissal under Rule 41 without costs as Rule 11 explicitly permits an award of fees

and costs as a sanction. See Fed. R. Civ. P. 11(c)(4) (“The sanction may include . . . an order

directing payment to the movant of part or all of the reasonable attorney’s fees and other expenses

directly resulting from the violation.”) (emphasis added).

II.    THE COSTS FOR THE REQUESTED DEPOSITION TRANSCRIPTS WERE
       REASONABLE AND NECESSARY.

       Deposition transcript costs are recoverable when they are reasonable and necessary to the

case. See Cengr v. Fusibond Piping Sys., Inc., 135 F.3d 445, 455 (7th Cir. 1998). A “court is to

presume that deposition transcripts are reasonable and necessary unless” the opposing party

shows otherwise. Autozone, Inc. v. Strick, No. 03 C 8152, 2010 U.S. Dist. LEXIS 59005, at *4

(N.D. Ill. June 9, 2010).

       Plaintiff acknowledges that his or her own deposition is practically always recoverable.

See Santiago v. Orland Park Motor Cars, Inc., No. 01 C 8293, 2004 U.S. Dist. LEXIS 2299, at *6

(N.D. Ill. Feb. 17, 2004) (“[A] plaintiff's testimony regarding the basis for her claims is typically

necessary to the defense of the case.”). Likewise, Plaintiff does not dispute that the 30(b)(6) Lock

deposition that she noticed individually to her case was reasonable and necessary.

       The deposition that Plaintiff claims was not noticed in her case were inadvertently sought

by Metalcraft. The Micklas transcript should have been requested in the Pucek case, Case No. 20-

cv-0443-bhl.

                                                 3

          Case 2:20-cv-00449-BHL Filed 05/19/22 Page 3 of 6 Document 53
       The deposition that Plaintiff claims was unnecessary because it did not relate specifically

to her case (Kriewled) was reasonably necessary for Metalcraft to defend itself and are recoverable.

Plaintiff ignores that her counsel noticed this deposition in an attempt to find evidence to support

her case. A deposition noticed by the losing party is presumptively recoverable by the prevailing

party because they were forced to defend the deposition. See O'Neal v. Altheimer & Gray, Case

No. 99 C 0976, 2002 U.S. Dist. LEXIS 17943, at *3-4 (N.D. Ill. Sep. 18, 2002) (“As

Defendant highlighted, however, the Plaintiff noticed those witnesses, thus Defendant is allowed

copies of those transcript depositions.”); Govas v. Chalmers, Case No. 86 C 7834, 1991 U.S. Dist.

LEXIS 7653, at *3-4 (N.D. Ill. June 5, 1991).

       Just because the witness ended up having limited information about Plaintiff does not mean

that the deposition transcript was not necessary.          “[T]ranscripts need not be absolutely

indispensable in order to provide the basis of an award of costs; it is enough if they are 'reasonably

necessary.” Lewis v. City of Chicago, No. 04-6050, 2012 U.S. Dist. LEXIS 182086, 2012 WL

6720411, at *5 (N.D. Ill. Dec. 21, 2012). Furthermore, “[t]he introduction of a deposition in a

summary judgment motion or at trial is not a prerequisite for finding that it was necessary to take

that deposition.” Cengr v. Fusibond Piping Sys., Inc., 135 F.3d 445, 455 (7th Cir.1998). “The

proper inquiry is whether the deposition was 'reasonably necessary' to the case at the time it was

taken, not whether it was used in a motion or in court.” Id. At the time of the deposition, it would

be exceedingly difficult for Metalcraft to determine whether it would be essential to the

prosecution of the case. This is especially so when one of its arguments was the complete lack of

any evidence to support Plaintiff’s claims. The fact that this deposition noticed by Plaintiff did

not contain much useful evidence is irrelevant as it was clearly necessary at the time it was taken.




                                                  4

          Case 2:20-cv-00449-BHL Filed 05/19/22 Page 4 of 6 Document 53
       Finally, the costs associated with obtaining these transcripts were reasonable and Plaintiff

has not presented any evidence to contest the reasonableness. Each transcript obtained in this case

was for a condensed electronic copy, which was the least expensive and limited option available.

Moreover, the reasonable cost of a transcript can be presumed when the opposing party noticed

the deposition and chose the court reporter. See Youngman v. Kouri, No. 16-cv-1005, 2018 U.S.

Dist. LEXIS 134235, at *3 (C.D. Ill. Aug. 9, 2018). As explained in Stevens v. DeWitt Cty.:

       Defendants          argue        that        the        costs        for       copies
       of deposition transcripts were reasonable under the circumstances of this case
       because Plaintiff arranged      and      deposed       seven      of     the    eight
       individuals. Plaintiff chose the court reporters for the depositions she noticed, and
       Defendants had no choice but to order copies from the court reporters selected by
       Plaintiff.

       The argument is well-taken. Several district court cases have held that a party
       should recover the actual cost of the deposition transcripts where the losing
       party chose the court reporter. See Halasa v. ITT Educational Servs., Inc., 2012
       U.S. Dist. LEXIS 24664, 2012 WL 639520, at *4 (S.D. Ind. Feb. 27,
       2012), aff'd 690 F.3d 844 (7th Cir. 2012); Gyrion v. City of Chicago, 454 F. Supp.
       2d 725, 726 (N.D. Ill. 2006); Engate, Inc. v. Esquire Deposition Servs., LLC, 2006
       U.S. Dist. LEXIS 25927, 2006 WL 695650, at *3 (N.D. Ill. March 13, 2006).

No. 11-3162, 2013 U.S. Dist. LEXIS 165446, at *2-3 (C.D. Ill. Nov. 21, 2013) (emphasis added).

       Thus, subject to the qualifications made above, the costs of obtaining deposition transcripts

in this case were reasonably necessary and recoverable.

                                        CONCLUSION

       For the reasons set forth above, Metalcraft respectfully requests that the Court tax costs as

requested in this matter.




                                                 5

          Case 2:20-cv-00449-BHL Filed 05/19/22 Page 5 of 6 Document 53
      Dated this 19th Day of May, 2022.

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                                          6

        Case 2:20-cv-00449-BHL Filed 05/19/22 Page 6 of 6 Document 53
